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                        Exhibit 7
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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
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                                                                                     :
  BENTHOS MASTER FUND, LTD.,                                                         :
                                                                                     :
                                                     Petitioner                      :
                                                                                     :     Case No. 20-cv-03384
                                 - against -                                         :
                                                                                     : INFORMATION SUBPOENA
                                                                                     :    WITH RESTRAINING
  AARON ETRA,                                                                        :          NOTICE
                                                                                     :     TO  AARON    ETRA
                                                     Respondent.                     :
  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- x


TO: Aaron Etra
    240 East 47th Street, Apt. 12A
    New York, New York 10017


             WHEREAS, in an action in the United States District Court, Southern District of New

  York, between petitioner-judgment creditor Benthos Master Fund, Ltd. (“Judgment Creditor”)

  and respondent-judgment debtor Aaron Etra (“You” or “Judgment Debtor”), an order was

  entered by the Clerk in the United States District Court, Southern District of New York, on

  August 13, 2020, in favor of Judgment Creditor and against You in the amount of $5,254,561.12,

  plus the interest that has accrued on that amount since May 1, 2020 at a 4% simple interest per

  annum and is continuing to accrue (the “Judgment”);

             NOW, THEREFORE WE COMMAND YOU, pursuant to the Federal Rules of Civil

  Procedure and Section 5224(a)(3) of the Civil Practice Law and Rules (“CPLR”), that under oath

  You answer in writing separately and fully each question in the questionnaire accompanying this

  subpoena, each answer referring to the question to which it responds; and that You return the

  answers together with the original questions on September 1, 2022.




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           TAKE NOTICE that false swearing or failure to comply with this subpoena is

punishable as contempt of court.

                                     RESTRAINING NOTICE

           WHEREAS, You owe a debt to the Judgment Creditor;

           TAKE NOTICE that pursuant to Rule 5222(b) of the CPLR, which is set forth in full

herein, You are hereby forbidden to make or suffer any sale, assignment, transfer, payment, or

disposition of, or any interference with, any property in which You have an interest (“Property”)

except as therein provided;

           TAKE FURTHER NOTICE that this restraining notice covers all Property, and all

property hereafter coming into Your possession or custody, and all debts hereafter coming due to

You.

CPLR § 5222(b) – Effect of restraint; prohibition of transfer; duration. A judgment debtor or
obligor served with a restraining notice is forbidden to make or suffer any sale, assignment,
transfer or interference with any property in which he or she has an interest, except as set forth in
subdivisions (h) and (i) of this section, and except upon direction of the sheriff or pursuant to an
order of the court, until the judgment or order is satisfied or vacated. A restraining notice served
upon a person other than the judgment debtor or obligor is effective only if, at the time of
service, he or she owes a debt to the judgment debtor or obligor or he or she is in the possession
or custody of property in which he or she knows or has reason to believe the judgment debtor or
obligor has an interest, or if the judgment creditor or support collection unit has stated in the
notice that a specified debt is owed by the person served to the judgment debtor or obligor or that
the judgment debtor or obligor has an interest in specified property in the possession or custody
of the person served. All property in which the judgment debtor or obligor is known or believed
to have an interest then in and thereafter coming into the possession or custody of such a person,
including any specified in the notice, and all debts of such a person, including any specified in
the notice, then due and thereafter coming due to the judgment debtor or obligor, shall be subject
to the notice except as set forth in subdivisions (h) and (i) of this section. Such a person is
forbidden to make or suffer any sale, assignment or transfer of, or any interference with, any
such property, or pay over or otherwise dispose of any such debt, to any person other than the
sheriff or the support collection unit, except as set forth in subdivisions (h) and (i) of this section,
and except upon direction of the sheriff or pursuant to an order of the court, until the expiration
of one year after the notice is served upon him or her, or until the judgment or order is satisfied
or vacated, whichever event first occurs. A judgment creditor or support collection unit which
has specified personal property or debt in a restraining notice shall be liable to the owner of the
property or the person to whom the debt is owed, if other than the judgment debtor or obligor, for

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any damages sustained by reason of the restraint. If a garnishee served with a restraining notice
withholds the payment of money belonging or owed to the judgment debtor or obligor in an
amount equal to twice the amount due on the judgment or order, the restraining notice is not
effective as to other property or money.

           TAKE FURTHER NOTICE that disobedience of this restraining notice is punishable as

a contempt of court.

                       NOTICE TO JUDGMENT DEBTOR OR OBLIGOR
                                as required by New York Law

      Money or property belonging to you may have been taken or held in order to satisfy a
judgment or order which has been entered against the judgment debtor. Read this carefully.

                     YOU MAY BE ABLE TO GET YOUR MONEY BACK

         State and federal laws prevent certain money or property from being taken to satisfy
judgments or orders. Such money or property is said to be “exempt.” The following is a partial
list of money which may be exempt:

    1. Supplemental security income, (SSI);
    2. Social security;
    3. Public assistance (welfare);
    4. Spousal support, maintenance (alimony) or child support;
    5. Unemployment benefits;
    6. Disability benefits;
    7. Workers’ compensation benefits;
    8. Public or private pensions;
    9. Veterans benefits;
    10. Ninety percent of your wages or salary earned in the last sixty days;
    11. Twenty-five hundred dollars of any bank account containing statutorily exempt payments
        that were deposited electronically or by direct deposit within the last forty-five days,
        including, but not limited to, your social security, supplemental security income, veterans
        benefits, public assistance, workers’ compensation, unemployment insurance, public or
        private pensions, railroad retirement benefits, black lung benefits, or child support
        payments;
    12. Railroad retirement; and
    13. Black lung benefits

        If you think that any of your money that has been taken or held is exempt, you must act
promptly because the money may be applied to the judgment or order. If you claim that any of
your money that has been taken or held is exempt, you may contact the person sending this
notice.

     Also, YOU MAY CONSULT AN ATTORNEY, INCLUDING ANY FREE LEGAL
SERVICES ORGANIZATION IF YOU QUALIFY. You can also go to court without an

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attorney to get your money back. Bring this notice with you when you go. You are allowed to
try to prove to a judge that your money is exempt from collection under New York civil practice
law and rules, sections fifty-two hundred twenty-two-a, fifty-two hundred thirty-nine and fifty-
two hundred forty. If you do not have a lawyer, the clerk of the court may give you forms to
help you prove your account contains exempt money that the creditor cannot collect. The law
(New York civil practice law and rules, article four and sections fifty-two hundred thirty-nine
and fifty-two hundred forty) provides a procedure for determination of a claim to an exemption.



Dated: August 2, 2022


                                            KLEINBERG, KAPLAN, WOLFF & COHEN, P.C.


                                            By:
                                                                   Steven R. Popofsky
                                                                   Joshua K. Bromberg

                                            500 Fifth Avenue
                                            New York, New York 10110
                                            Telephone: (212) 986-6000
                                            Facsimile: (212) 986-8866
                                            Email: SPopofsky@kkwc.com
                                                   JBromberg@kkwc.com

                                            Attorneys for Petitioner/Judgment Creditor
                                               BENTHOS MASTER FUND, LTD.




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                                                                                   :
BENTHOS MASTER FUND, LTD.,                                                         :
                                                                                   :
                                                   Petitioner                      :
                                                                                   :     Case No. 20-cv-03384
                               - against -                                         :
                                                                                   :       QUESTIONS IN
                                                                                   :    CONNECTION WITH
AARON ETRA,                                                                        : INFORMATION SUBPOENA
                                                                                   :     TO AARON ETRA
                                                   Respondent.                     :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- x


TO: Aaron Etra
    240 East 47th Street, Apt. 12A
    New York, New York 10017

                                            INSTRUCTIONS

           This information subpoena seeks information during the period beginning August 1, 2017

through the present, unless some other time period is specified in a particular request.

                                               REQUESTS

           1.     Identify (i) the name and full contact information (address, telephone, e-mail and

otherwise) for every “client,” or other individual or entity, for which You have performed any

legal, “paymaster,” escrow-related or other services from August 1, 2017 through the present; (ii)

for each such individual or entity, the precise nature of the services performed; (iii) for each such

individual or entity, specifically what compensation You (or any affiliated person or entity,

including but not limited to Koraljka Troselj) received for those services; (iv) where such

compensation was paid to, in each instance separately (including names, addresses, account

numbers, and Your responsible contact officers at each such institution); (v) all subsequent




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transfers of such compensation received; and (vi) the current whereabouts of all such

compensation.

            2.   Identify and itemize Your current monthly living expenses.

            3.   Identify any and all sources from which You receive funds that You use to pay

Your current monthly living expenses and/or any other non-recurring expenses. The term

“sources” includes, but is not limited to, any bank or other account from which funds are

transferred to You for Your use, and specifically requires You to identify the ultimate individual,

entity and/or activity that is generating such funds.

            4.   List all bank accounts, brokerage accounts, investment accounts, checking

accounts, savings accounts, and all other accounts, whether in the United States or any other

country, in which You have (or had) an interest, whether in Your name individually, jointly, in

trust, as custodian, as nominee, as a beneficiary or in conjunction with any other person or

persons, as of the date of the subpoena and since August 1, 2017.

            5.   As to each such account responsive to request No. 2 above, what is the exact

name on the account, the date the account was opened, the account number, the names of the

signatories on the account, and the amounts presently on deposit; if closed, what was the amount

on deposit when the account closed and the date it was closed? Please supply the date, name, and

address of the payee or recipient of the last drawn check or wire, the amount of the last drawn

check or wire, and the nature and amount of consideration received by You in exchange for the

last drawn check or wire.

            6.   Identify all credit cards in which You have (or had) an interest, whether in Your

name individually, jointly, in trust, as custodian, as nominee, as a beneficiary or in conjunction

with any other person or persons, as of the date of the subpoena and since August 1, 2017.



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           7.   As to each such credit card responsive to request No. 4 above, what is the exact

name on the card, the date the card was opened, the credit card number, the names of the

signatories on the card, and the amounts of the line of credit; if closed, what was the amount of

the line of credit when the card closed and the date it was closed? Please supply the date, name,

and address of the payee or recipient of the last transaction and the amount of the last transaction.

           8.   Set forth the names and addresses of any person with personal knowledge or

information concerning the nature, extent and location of any assets, including but not limited to

money, owned or controlled by You.

           9.   Set forth the names and addresses of all of the individuals who assisted or

participated in providing information for, or formulating responses to, (i) the information and

documents You provided in response to all court orders from Judge Caproni during July of 2022,

and (ii) separately, this Information Subpoena.




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